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AO 458 (Rev. 06/09) Appearance of Counsel

UNITED STATES DISTRICT COURT

 

 

for the
United States — )
Plaintiff )
Vv. ) Case No. 23-Mj-23
Robert Degregoris )
Defendant )
APPEARANCE OF COUNSEL

To: The clerk of court and all parties of record
I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

Defendant Robert Degregoris

Date: February 6, 2023

 

Paul F. Enzinna, DC BAr No. 421819

 

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